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From:              Brad Edwards
To:                O"Laughlin, Andy
Cc:                WHJPMCService; DoeService; DL - Motley Rice JPMC Service
Subject:           Re: JPMC - DB Jane Doe Identity
Date:              Saturday, April 8, 2023 1:39:48 PM



EXTERNAL SENDER

Andy,

Thank you for your email below. I don’t think a back and forth on this topic would be
productive. I am more than happy to have the Court decide this issue and in fact want it
brought to the Court’s attention as soon as possible.

Unfortunately, while I will be the person on our team handling this issue with the Court, I am
not available Monday. I will, however, make myself available anytime on Tuesday.

I hope you are having a nice weekend.

Sincerely,

Brad

Sent from my iPhone


        On Apr 7, 2023, at 5:45 PM, O'Laughlin, Andy
        <Andy.OLaughlin@wilmerhale.com> wrote:



        Brad,

        As we have explained, we have reason to believe that the Jane Doe in the Deutsche
        Bank case is a percipient witness in possession of facts that are directly relevant to the
        claims and defenses in this case. We are not aware of any legal basis that would
        support you withholding it from us—nor, it seems, are you given that you have agreed
        to provide it. We are also not aware of any legal basis for withholding the name of a
        percipient witness from one of the parties to the litigation.

        We understand the confidentiality concerns here and take the protection of all victim’s
        identities seriously. We have all agreed to abide by the Protective Orders governing
        these cases which are designed to address these concerns but we do not read those
        orders as supporting, or allowing for, the restriction you request.

        If you believe that additional protections are warranted, or of any legal grounds for the
        position you are taking below—that our access to relevant information regarding our
        defense must be conditioned on our agreeing that another party not have that access
        —then please provide it.
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Barring further explanation or authority to support your position, we cannot agree to
the conditions you have imposed and will need to find a time on Monday to seek the
Court’s assistance in resolving this dispute. Please let us know when works.

Best,

Andy


Andy O'Laughlin
WilmerHale | 617.526.6220


From: Brad Edwards <brad@epllc.com>
Sent: Friday, April 7, 2023 3:48 PM
To: O'Laughlin, Andy <Andy.OLaughlin@wilmerhale.com>
Cc: WHJPMCService <WHJPMCService@wilmerhale.com>; DoeService
<DoeService@bsfllp.com>; DL - Motley Rice JPMC Service <DL-
MotleyRiceJPMCService@motleyrice.com>
Subject: Re: JPMC - DB Jane Doe Identity

EXTERNAL SENDER


Andy,

Please provide written confirmation that her identity will not be shared with Mr. Staley
or his counsel, regardless of how the Court rules on severance, and we will provide you
the name. Thank you.

Brad


Sent from my iPhone



        On Apr 7, 2023, at 3:40 PM, O'Laughlin, Andy
        <Andy.OLaughlin@wilmerhale.com> wrote:


        Brad,

        Following up on the below, we are still waiting on the name. This request
        has been pending for ten days and it has now been two days since you
        agreed you would provide it. Please provide it today.
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   Best,

   Andy

   Andy O'Laughlin
   WilmerHale | 617.526.6220


   From: O'Laughlin, Andy
   Sent: Thursday, April 6, 2023 10:52 AM
   To: Brad Edwards <brad@epllc.com>
   Cc: WHJPMCService <WHJPMCService@wilmerhale.com>; DoeService
   <DoeService@bsfllp.com>; swohlgemuth@wc.com; Warren, Zach
   <ZWarren@wc.com>; DL - Motley Rice JPMC Service <DL-
   MotleyRiceJPMCService@motleyrice.com>
   Subject: RE: JPMC - DB Jane Doe Identity

   Thanks very much Brad, can you please provide it today?

   Andy O'Laughlin
   WilmerHale | 617.526.6220

   From: Brad Edwards <brad@epllc.com>
   Sent: Wednesday, April 5, 2023 10:29 PM
   To: O'Laughlin, Andy <Andy.OLaughlin@wilmerhale.com>
   Cc: WHJPMCService <WHJPMCService@wilmerhale.com>; DoeService
   <DoeService@bsfllp.com>; swohlgemuth@wc.com; Warren, Zach
   <ZWarren@wc.com>; DL - Motley Rice JPMC Service <DL-
   MotleyRiceJPMCService@motleyrice.com>
   Subject: Re: JPMC - DB Jane Doe Identity

    EXTERNAL SENDER


   Andy,

   We will provide you the name.

   Brad

   Sent from my iPhone


           On Apr 5, 2023, at 8:35 PM, O'Laughlin, Andy
           <Andy.OLaughlin@wilmerhale.com> wrote:
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        Brad,

        Last Tuesday 3/28 we asked your team to provide us with
        the name of the Jane Doe in the Deutsche Bank case, you
        said that you would get back to us. On yesterday’s meet
        and confer, having not heard back, we repeated the request
        and again explained our basis for seeking it. You agreed to
        provide us with your response today which we have not yet
        received. Please either provide the name or confirm that we
        are at impasse on this issue so we can proceed to next steps.

        Best,

        Andy

        Andy O'Laughlin | WilmerHale
        60 State Street
        Boston, MA 02109 USA
        +1 617 526 6220 (t)
        +1 617 526 5000 (f)
        andy.olaughlin@wilmerhale.com

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